Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.288 Filed 05/11/22 Page 1 of 25




                         MEMORANDUM OF LAW

                                 EXHIBIT A


                DECLARATION OF STANLEY H. KREMEN
Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.289 Filed 05/11/22 Page 2 of 25



  1
                     IN THE UNITED STATES DISTRICT COURT
  2
                         EASTERN DISTRICT OF MICHIGAN
  3

  4
        Stanley H. Kremen,
  5     Attorney at Law
        4 Lenape Lane
  6     East Brunswick, New Jersey 08816
        (732) 593-7294
  7     Attorney for the Plaintiff
  8     Keith Altman
        The Law Office of Keith Altman
  9     38228 West 12 Mile Road, Suite 375
        Farmington Hills, Michigan 48334
 10     (248) 987-8929
        Attorney for the Plaintiff
 11

 12

 13            TRUTEK CORP.,
 14
                  Plaintiff,
                                               CIVIL ACTION No. 2:21-cv-10312-SJM-RSW
 15
                         v.

 16
          BlueWillow Biologics, Inc.
       ROBIN ROE 1 through 10, gender
 17
       neutral fictitious names, and ABC
        CORPORATION 1 through 10
 18
                (fictitious names).

 19
                   Defendants.

 20

 21          DECLARATION OF STANLEY H. KREMEN IN SUPPORT OF
 22    PLAINTIFF'S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT
 23         I, Stanley H. Kremen, being of full age, hereby depose and say under pains
 24   and penalties of perjury under the laws of the United States and the State of
 25   Michigan:
 26   1. I am an attorney licensed in the State of California and admitted to practice in
 27      Federal Court in the Eastern District of Michigan.
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                                               1
Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.290 Filed 05/11/22 Page 3 of 25



  1   2. I represent the Plaintiff, Trutek Corp. ("TRUTEK") in the above captioned
  2      matter, and I am their Counsel of Record.
  3   3. On February 10, 2021, I caused a complaint ("Initial Complaint") to be filed
  4      against the Defendant, BlueWillow Biologics, Inc. ("BLUEWILLOW"), in the
  5      Eastern District of Michigan, Southern Division (ECF No. 1).
  6   4. The Initial Complaint alleged a single count of infringement of TRUTEK's
  7      United States Patent No. 8,163,802 ("the '802 Patent") for manufacturing and
  8      selling one or more over-the-counter pharmaceutical products named Nanobio®
  9      Protect ("NANOBIO").
 10   5. Claims 1 and 2 of the '802 Patent recite a method and a formulation,
 11      respectively, to be administered nasally, which exhibits an electrostatic charge,
 12      and which contains a cationic agent and a biocidic agent. Cationic agents
 13      exhibit    a   positive   electrostatic   charge,    and    biocidic   agents   destroy
 14      microorganisms. Biocidic agents are used in preservatives. Claim 6 of the '802
 15      Patent recites that the cationic agent is benzalkonium chloride, and claim 7
 16      recites that the biocidic agent is benzalkonium chloride.
 17   6. According       to   information     provided       by     BLUEWILLOW's         website
 18      (www.bluewillow.com) at the time this action was filed, the NANOBIO product
 19      exhibits an electrostatic charge, and contains benzalkonium chloride
 20      (abbreviated as "BZK" on the BLUEWILLOW website). (See Initial Complaint
 21      - Exhibit 1 [ECF No. 1-1.].)          This revelation by BLUEWILLOW led to
 22      TRUTEK's allegation of patent infringement in the sole count of the Initial
 23      Complaint.
 24   7. According to information and belief, at some time after the Initial Complaint
 25      was filed, BLUEWILLOW ceased manufacturing and selling the NANOBIO
 26      product.       The NANOBIO product had been previously advertised on
 27      BLUEWILLOW's website. (See Initial Complaint - Exhibit 1.)
 28   8. According to information and belief, after BLUEWILLOW ceased selling the
                                                   2
Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.291 Filed 05/11/22 Page 4 of 25



  1      NANOBIO product, it removed references to that product.
  2   9. On page 3 of 7 of said Exhibit 1, the website text stated, "[t]he unique
  3      effectiveness of Nanobio® Protectis [sic.] derived from BlueWillow's patented
  4      technology." However, no patent numbers were marked on the NANOBIO
  5      product packaging or on the product itself.
  6   10. A search performed by me on the website (www.uspto.gov) of the United States
  7      Patent and Trademark Office ("USPTO"), done subsequent to filing the Initial
  8      Complaint, yielded no patents that are assigned to BLUEWILLOW. However,
  9      further research yielded a series of United States patents that are assigned to
 10      Nanobio Corporation. The search also yielded published United States patent
 11      applications that were assigned to Nanobio Corporation, but which did not
 12      mature into patents for one reason or another. According to information and
 13      belief, BLUEWILLOW is a successor business entity of Nanobio Corporation.
 14   11. Recognizing the names of some of the inventors listed on the patents owned by
 15      Nanobio Corporation, I then searched the USPTO website and found other
 16      United States patents listing some of the same inventors. These were assigned
 17      to the Regents of the University of Michigan. According to information and
 18      belief, some of said inventors migrated from research positions at the University
 19      of Michigan to Nanobio Corporation. According to further information and
 20      belief, at least two of said inventors occupy executive positions at
 21      BLUEWILLOW.
 22   12. Further research revealed articles published in scientific journals, which were
 23      written by said inventors.
 24   13. All of the newly discovered patents, patent applications, and scientific articles
 25      disclose vaccines for prevention and treatment of various diseases and
 26      conditions. These vaccines are contained in nanoemulsion adjuvants, and they
 27      are intended for nasal administration to subjects.
 28   14. By their very nature, nanoemulsions consist of extremely small nanoscale liquid
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Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.292 Filed 05/11/22 Page 5 of 25



  1      droplets. These droplets exhibit electrostatic charges that cause the droplets to
  2      repel one another. If this were not so, the droplets would coalesce into a single
  3      coherent liquid.
  4   15. The various patents, patent applications, and scientific articles further disclose
  5      that the vaccines contain cationic agents and biocidic agents.
  6   16. Excerpts from the current BLUEWILLOW website (www.bluewillow.com)
  7      disclose that BLUEWILLOW is currently manufacturing and testing vaccines
  8      contained in nanoemulsion adjuvants, which are intended for nasal
  9      administration. A copy of excerpts from said website is appended as an exhibit
 10      hereto.
 11   17. It is my current good faith belief that BLUEWILLOW's activities, regarding one
 12      or more of its vaccines, infringe upon at least claims 1 and 2 of the '802 Patent.
 13   18. When the Initial Complaint was filed, it was TRUTEK's good faith belief that
 14      BLUEWILLOW's infringement activities were confined to the NANOBIO
 15      product.   Only after filing the Initial Complaint did TRUTEK suspect that
 16      BLUEWILLOW'S infringement activities extended to their vaccines. The Initial
 17      Complaint did not allege that BLUEWILLOW's vaccine activities infringed the
 18      claims of the '802 Patent because TRUTEK was unaware of the nexus between
 19      the NANOBIO product and the BLUEWILLOW vaccines. The connection was
 20      discovered only following extensive research performed following filing of the
 21      Initial Complaint.
 22   19. Subsequent to filing this lawsuit, I inquired of BLUEWILLOW's Counsel
 23      requesting information regarding the BLUEWILLOW vaccines. I was told that
 24      the vaccines are "off limits," because they are protected by the safe harbor of the
 25      Hatch Waxman Act. I was told that BLUEWILLOW will resist TRUTEK's
 26      discovery efforts regarding its vaccines.
 27   20. On May 2, 2022, BLUEWILLOW responded to TRUTEK's first requests for
 28      admissions. In their response, BLUEWILLOW indeed objected to TRUTEK's
                                                4
Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.293 Filed 05/11/22 Page 6 of 25



  1        requests for discovery regarding their vaccines claiming (1) that they are exempt
  2        from infringement allegations because they are protected by the Hatch Waxman
  3        safe harbor; and (2) that they are not at issue in this case.
  4   //
  5           I declare that the statements made by me above are true and that the exhibit
  6   attached hereto is genuine and is correctly described above. I understand that I am
  7   subject to the penalties of perjury for false representations according to the laws of
  8   the United States and the State of Michigan.
  9

 10   Dated: ___May 2, 2022____
 11                                                    s/ Stanley H. Kremen____
 12                                                    Stanley H. Kremen
 13
                                                       Attorney for Plaintiff, Trutek Corp.

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Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.294 Filed 05/11/22 Page 7 of 25



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 12                                     EXHIBIT
 13

 14                  EXCERPTS FROM BLUEWILLOW WEBSITE
 15                               (www.bluewillow.com)
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BlueWillow Biologics Home – BlueWillow Biologics
               Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.295 Filed 05/11/22 Page 8 of 25




                                                              Home     Company        NanoVax® Platform     News/Contact




         BlueWillow Biologics® is developing and enabling a new generation of safe and
         effective nasal vaccines and immunotherapy to protect global populations from
         respiratory infections, sexually transmitted diseases, and food allergies. Our novel
         intranasal NanoVax® adjuvant platform activates mucosal immunity, the body’s
         first line of defense, while also inducing systemic immunity. We are a clinical-stage
         company advancing a pipeline of proprietary programs including Peanut Allergy,
         HSV-2, Covid-19, Anthrax, Pandemic Flu and RSV.



         Vaccine Pipeline
         BlueWillow’s intranasal vaccine platform has successfully demonstrated safety and immunogenicity in
         humans as well as safety and efficacy in primary animal models for several diseases. A successful phase 1
         clinical trial in Anthrax was recently completed. Clinical trials for an intranasal Covid-19 booster as well as
         therapeutic HSV-2 and pandemic flu vaccines are planned for the near future.

         The company has also demonstrated that its adjuvant technology platform shifts the immune response in
         food allergy from inflammatory (Th2) to protective (Th1) enabling a durable, intranasal immunotherapy
         candidate. GMP manufacturing of clinical materials is ongoing for the lead Peanut Allergy program leading
         to near-term clinical development.


https://bluewillow.com/[4/26/2022 8:13:53 PM]
BlueWillow Biologics Home – BlueWillow Biologics
               Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.296 Filed 05/11/22 Page 9 of 25



         BlueWillow Biologics: Vaccine Development Pipeline




         BlueWillow Biologics
         2311 Green Road | Ann Arbor, Michigan 48105
         Telephone: 734-302-4000 | Fax: 734-302-9150

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https://bluewillow.com/[4/26/2022 8:13:53 PM]
BlueWillow Biologics Our Proprietary Technology Platform – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.297 Filed 05/11/22 Page 10 of 25




                                                                          Home      Company   NanoVax® Platform   News/Contact




        Our Proprietary Technology Platform



        BlueWillow’s NanoVax® technology platform utilizes a novel oil-in-water nanoemulsion (NE)
        adjuvant to enable intranasal vaccines for challenging diseases and intranasal
        immunotherapy (INIT) for food allergies.


        JUMP TO:     How Do Intranasal NE Vaccines Work?



        About Our NanoVax® NE01 Adjuvant Technology
        BlueWillow’s vaccine technology incorporates proprietary oil-in water droplets that are 400–500
        nanometers in size to deliver and adjuvant a broad spectrum of vaccines. The NE adjuvant:

            Has established safety and immunogenicity in human clinical trials and efficacy in primary and relevant
            animal models
            Elicits both systemic and mucosal immunity following intranasal vaccination
            Adjuvants multiple antigen types and enables multi-valent vaccines
            Stimulates a protective immune response that is Th1 biased
            Elicits IL17 and IgA for mucosal protection following intranasal administration
            Has inherent antimicrobial activity. NE01 inactivates and splits enveloped viruses while preserving
            epitopes, making it ideal for preparation and formulating split/inactivated viral vaccines




https://bluewillow.com/our-proprietary-technology-platform/[4/26/2022 8:16:55 PM]
BlueWillow Biologics Our Proprietary Technology Platform – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.298 Filed 05/11/22 Page 11 of 25
        How Do Intranasal NE Vaccines Work?
        NE01 adjuvanted vaccines are applied intranasally. As shown in the figure below, the adjuvant efficiently
        activates innate immunity and attracts antigen-presenting dendritic cells. Dendritic cells sample the vaccine
        at the nasal mucosa and carry the antigen to lymph nodes where it is introduced to the immune system.
        This path of vaccination results in potent systemic and mucosal immune response. Intranasal NE vaccines
        have been shown to be immunogenic, safe and well tolerated in Phase 1 human clinical trials.


        diagram explaining NanoBio's technology platform




        BlueWillow Biologics
        2311 Green Road | Ann Arbor, Michigan 48105



https://bluewillow.com/our-proprietary-technology-platform/[4/26/2022 8:16:55 PM]
BlueWillow Biologics Our Proprietary Technology Platform – BlueWillow Biologics
             Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.299 Filed 05/11/22 Page 12 of 25
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BlueWillow Biologics Vaccine Pipeline – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.300 Filed 05/11/22 Page 13 of 25




                                                                 Home   Company     NanoVax® Platform      News/Contact




        Vaccine Pipeline


        BlueWillow’s intranasal vaccine platform has successfully demonstrated safety and immunogenicity in
        humans in addition to safety and efficacy in primary animal models for several diseases. A successful Phase 1
        clinical trial for an Anthrax vaccine candidate was recently completed. Clinical trials for an intranasal Covid-
        19, HSV-2 and pandemic flu vaccines are planned for the near future.

        The company has also demonstrated that its adjuvant technology platform shifts the immune response in
        food allergy from inflammatory (Th2) to protective (Th1) enabling a durable, intranasal immunotherapy
        candidate. IND-enabling development is being completed for the lead Peanut Allergy program with clinical
        trials planned for the near future.




https://bluewillow.com/vaccine-pipeline/[4/26/2022 8:17:51 PM]
BlueWillow Biologics Vaccine Pipeline – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.301 Filed 05/11/22 Page 14 of 25


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BlueWillow Biologics News – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.302 Filed 05/11/22 Page 15 of 25




                                                            Home     Company        NanoVax® Platform      News/Contact




       BlueWillow News



       March 2, 2022

       BlueWillow Announces Promising Results for Intranasal Covid-19
       Booster Vaccine
       https://www.businesswire.com/news/home/20220302005134/en/BlueWillow-Biologics-and-Medigen-
       Vaccine-Biologics-Announce-Positive-Results-for-Intranasal-COVID-19-Booster-Candidate-in-Pre-clinical-
       Studies


       November 3, 2021

       BlueWillow Biologics Presents Positive Interim Anthrax Phase 1
       Data to BARDA
       ANN ARBOR, Mich.–(BUSINESS WIRE)–BlueWillow Biologics, Inc. today announced that the company will
       present positive interim data from its phase 1 clinical trial of a novel intranasal anthrax vaccine at a
       Lightning Talks Session of BARDA’s Industry Day, November 3 and 4, 2021. BlueWillow’s rPA/NE01 anthrax
       vaccine, BW-1010, developed in collaboration with Porton Biopharma Limited (UK) and […]


       September 21, 2021

       BlueWillow Biologics Names Leading Viral Infectious Disease
       Experts to Scientific Advisory Board


https://bluewillow.com/news/[4/26/2022 8:19:26 PM]
BlueWillow Biologics News – BlueWillow Biologics
           Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.303 Filed 05/11/22 Page 16 of 25
       BlueWillow Biologics, Inc., a privately held clinical-stage biopharmaceutical company developing intranasal
       vaccines, today announced the formation of the Company’s Scientific Advisory Board (SAB) with three
       leading viral infectious disease experts. The SAB will provide strategic and scientific counsel to BlueWillow’s
       clinical programs.


       August 24, 2021

       BlueWillow Biologics Announces Positive Interim Results from
       Phase 1 Trial of Intranasal Anthrax Vaccine
       BlueWillow Biologics, Inc., a privately held clinical-stage biopharmaceutical company developing intranasal
       vaccines, today announced positive interim results from the Phase 1 clinical trial of BW-1010, its next-
       generation intranasal anthrax vaccine candidate. BW-1010 combines BlueWillow’s patented technology, a
       novel oil-in-water emulsion platform that efficiently presents antigens to the immune system via the nasal
       mucosa, with Porton […]


       November 10, 2020

       Medigen and BlueWillow Biologics Partner to Develop Intranasal
       Vaccine for SARS-CoV-2
       Research indicates that intranasal administration is effective at stimulating the mucosal immunity response.
       Preclinical study shows positive serum and mucosal immune response. Tapei, Taiwan & ANN ARBOR,
       Michigan, November 10, 2020 – Medigen Vaccine Biologics Corporation (MVC) (TPEx: 6547.TWO), a
       biopharmaceutical company focusing on the development and production of vaccines and biologics, and
       BlueWillow Biologics, […]


       October 23, 2019

       BlueWillow Receives FDA Clearance to Begin Phase 1 Study of its
       Intranasal Anthrax Vaccine
       BlueWillow Biologics today announced the U.S. Food and Drug Administration (FDA) has cleared its
       investigational new drug application for the company’s next-generation anthrax vaccine candidate. The
       Phase 1 clinical study is expected to begin enrollment in late 2019.


       October 1, 2019

       BlueWillow Awarded NIH Contract to Advance Development of its
       Therapeutic Peanut Allergy Vaccine

https://bluewillow.com/news/[4/26/2022 8:19:26 PM]
BlueWillow Biologics News – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.304 Filed 05/11/22 Page 17 of 25
       BlueWillow Biologics®, a clinical-stage biopharmaceutical company, has been awarded a Fast Track Small
       Business Research Innovation contract from the National Institute of Allergy and Infectious Diseases for
       development of an intranasal therapeutic peanut allergy vaccine.


       August 6, 2019

       BlueWillow Biologics Named to Crain’s ‘Cool Places to Work in
       Michigan’
       BlueWillow Biologics® today announced the company has been recognized as one of the 2019 “Cool Places
       to Work in Michigan” by Crain’s Detroit.


       July 23, 2019

       BlueWillow Biologics Awarded Patent for Intranasal Genital Herpes
       Vaccine
       BlueWillow Biologics® today announced the issuance of U.S. patent number 10,206,996 to BlueWillow for the
       development of an intranasal NanoVax® herpes simplex virus (HSV) vaccine.


       May 29, 2019

       BlueWillow Biologics Announces Issuance of Intranasal Anthrax
       Vaccine Patent
       BlueWillow Biologics® today announced the issuance of U.S. patent number 10,138,279 covering an
       intranasal NanoVax® anthrax vaccine.


       September 26, 2018

       BlueWillow Biologics Awarded Grant for Chlamydia Vaccine
       Development
       BlueWillow Biologics® today announced the company has been awarded an NIH Small Business Innovation
       Research (SBIR) grant for the development of an intranasal NanoVax® vaccine for the prevention of
       chlamydia.


       May 30, 2018

       BlueWillow Biologics Announces Issuance of Therapeutic Cancer

https://bluewillow.com/news/[4/26/2022 8:19:26 PM]
BlueWillow Biologics News – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.305 Filed 05/11/22 Page 18 of 25
       Vaccine Patent
       BlueWillow announces the issuance of a patent to the University of Michigan, under exclusive license to
       BlueWillow, which allows use of BlueWillow’s NanoVax® platform with tumor antigens to create novel
       therapeutic vaccines that could potentially generate immune responses to treat existing cancers.


       May 7, 2018

       NanoBio Announces Corporate Name Change to BlueWillow
       Biologics and Closes $10M Series A Financing
       NanoBio Corporation, a clinical-stage biopharmaceutical company, today announced that it has changed its
       corporate name to BlueWillow Biologics® in conjunction with the closing of a $10 million Series A financing.
       The financing round was led by North Coast Technology Investors, Line Moon Ventures and the University of
       Michigan through its MINTS initiative.


       April 11, 2018

       University of Michigan Researchers Show Intranasal NanoVax
       Vaccination Suppresses Peanut Allergies in Mice
       BlueWillow’s intranasal NanoVax vaccination protected mice from allergic reactions when exposed to
       peanut, according to U-M researchers.


       June 19, 2017

       NanoBio and Porton Biopharma Receive Approval to Advance
       Next Generation Anthrax Vaccine
       NanoBio Corporation today announced the progression of a novel intranasal anthrax vaccine into a pre-
       clinical IND-enabling toxicology study funded by the U.S. National Institute of Health’s National Institute of
       Allergy and Infectious Diseases (NIAID).


       March 6, 2017

       NanoBio Receives SBIR Grant For Genital Herpes Vaccine
       NanoBio Corporation today announced that it has been awarded a two-year Phase II Small Business
       Research Innovation (SBIR) grant from the National Institute of Allergy and Infectious Diseases (NIAID), part
       of the National Institutes of Health, for the development of an intranasal nanoemulsion (NE) adjuvanted
       vaccine for the prevention of genital herpes.


https://bluewillow.com/news/[4/26/2022 8:19:26 PM]
BlueWillow Biologics News – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.306 Filed 05/11/22 Page 19 of 25


       December 19, 2016

       NanoBio Awarded U.S. Patent for RSV Vaccine
       NanoBio Corporation today announced the issuance of a patent which broadly covers the composition of
       NanoBio’s intramuscular and intranasal RSV vaccine candidates, combining the company’s innovative
       nanoemulsion (NE) adjuvant with strain L19 of RSV.


       July 27, 2016

       NanoBio to Present Intranasal Pertussis Vaccine Data at the
       Mucosal Immunology Course & Symposium Meeting
       NanoBio Corporation today announced that the company will present key data at the Mucosal Immunology
       Course & Symposium Meeting (MICS) in Toronto, demonstrating the advantages of its intranasal
       nanoemulsion (NE) adjuvant for use in the development of vaccines for pertussis.


       June 2, 2016

       NanoBio to Present Data Demonstrating Benefit of Its
       Intramuscular Nanoemulsion Pandemic Influenza Vaccine
       NanoBio Corporation will present key data demonstrating the advantages of its nanoemulsion (NE) adjuvant
       for use in the development of intramuscular vaccines for pandemic influenza and other diseases,at the
       GTCbio 14th Vaccines Research & Development Conference on June 3, 2016.


       September 22, 2015

       NanoBio’s Genital Herpes Vaccine Demonstrates Efficacy in Guinea
       Pigs as Both a Prophylactic and a Therapeutic Vaccine
       NanoBio Corporation today announced that its intranasal nanoemulsion (NE) adjuvanted genital herpes
       vaccine has demonstrated efficacy in studies conducted in both the prophylactic and the therapeutic
       guinea pig model. The data was recently presented at the 40th Annual International Herpesvirus Workshop
       in Boise, ID.




https://bluewillow.com/news/[4/26/2022 8:19:26 PM]
BlueWillow Biologics News – BlueWillow Biologics
           Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.307 Filed 05/11/22 Page 20 of 25
       BlueWillow Biologics
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BlueWillow Biologics Scientific Publications – BlueWillow Biologics
              Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.308 Filed 05/11/22 Page 21 of 25




                                                                      Home   Company   NanoVax® Platform   News/Contact




        Scientific Publications



        Intranasal Nanoemulsion Vaccines:
        A novel combination of intramuscular vaccine adjuvants, nanoemulsion and CpG produces an effective
        immune response against influenza A virus. Wang SH, Chen J, Smith D, Cao Z, Acosta H, Fan Y, Ciotti S,
        Fattom A, Baker JR Jr. Vaccine. 2020 Apr 23;38(19):3537-3544.

        Intranasal nanoemulsion-adjuvanted HSV-2 subunit vaccine is effective as a prophylactic and therapeutic
        vaccine using the guinea pig model of genital herpes. Bernstein DI, Cardin RD, Bravo FJ, Hamouda T, Pullum
        DA, Cohen G, Bitko V, Fattom A. Vaccine. 2019 Oct 8;37(43):6470-6477.

        A nanoemulsion-adjuvanted intranasal H5N1 influenza vaccine protects ferrets against homologous and
        heterologous H5N1 lethal challenge. Smith D, Streatfield SJ, Acosta H, Ganesan S, Fattom A. Vaccine. 2019
        Sep 30;37(42):6162-6170.

        Recombinant H5 hemagglutinin adjuvanted with nanoemulsion protects ferrets against pathogenic avian
        influenza virus challenge. Wang SH, Smith D, Cao Z, Chen J, Acosta H, Chichester JA, Yusibov V, Streatfield SJ,
        Fattom A, Baker JR Jr. Vaccine. 2019 Mar 14;37(12):1591-1600. Vaccine. 2019.02.002.

        Nanoemulsion Adjuvant–Driven Redirection of TH2 Immunity Inhibits Allergic Reactions in Murine Models
        of Peanut Allergy. Jessica J. O’Konek, Jeffrey J. Landers, Katarzyna W. Janczak, Rishi R. Goel, Anna M.
        Mondrusov, Pamela T. Wong, James R. Baker, Jr; The Journal of Allergy and Clinical Immunology (2018).

        A Novel Nanoemulsion Vaccine Induces Mucosal Interleukin-17 Responses And Confers Protection Upon
        Mycobacterium Tuberculosis Challenge In Mice. Mushtaq Ahmed, Douglas M. Smith, Tarek Hamouda, Javier
        Rangel-Moreno, Ali Fattom, Shabaana A. Khader; Vaccine, Volume 35 (2017) 4983-4989.



https://bluewillow.com/news/publications/[4/26/2022 8:20:10 PM]
BlueWillow Biologics Scientific Publications – BlueWillow Biologics
           Case 4:21-cv-10312-FKB-RSW ECF No. 28-1, PageID.309 Filed 05/11/22 Page 22 of 25
        Immunomodulation Of TH2 Biased Immunity With Mucosal Administration Of Nanoemulsion Adjuvant.
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